             Case 1:20-cv-01088-JEB Document 17 Filed 03/17/21 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


SIERRA CLUB,

                Plaintiff,

        v.                                                   No. 1:20-cv-1088

MICHAEL REGAN, in his official capacity as
Acting Administrator, U.S. Environmental
Protection Agency,

                Defendant.


                         STIPULATION OF VOLUNTARY DISMISSAL

        Under Federal Rule of Civil Procedure 41(a)(1), and in accordance with the parties’

agreement resolving Sierra Club’s claims for costs and attorneys’ fees, the parties stipulate to

voluntary dismissal, with prejudice, of all claims in Sierra Club’s Complaint (ECF No. 1).

        DATED: this 17th day of March, 2021.

                                                Respectfully Submitted,

                                                /s/ Joshua Smith
                                                JOSHUA D. SMITH (Ore. Bar No. 071757)
                                                Admitted Pro Hac Vice
                                                SIERRA CLUB
                                                2101 Webster Street, Suite 1300
                                                Oakland, CA 94612
                                                (415) 977-5560
                                                joshua.smith@sierraclub.org


                                                MATTHEW MILLER (DC Bar No. 1015222)
                                                SIERRA CLUB
                                                1536 Wynkoop Street, Suite 200
                                                Denver, CO 80202
                                                (303) 454-3344
                                                matthew.miller@sierraclub.org

                                                Counsel for Plaintiff Sierra Club



                                                   1
Case 1:20-cv-01088-JEB Document 17 Filed 03/17/21 Page 2 of 3




                           /s/ Andrew D. Knudsen
                           ANDREW D. KNUDSEN
                           U.S. Department of Justice
                           Environmental Defense Section
                           P.O. Box 7611
                           Washington, DC 20044
                           (202) 353-7466
                           Andrew.Knudsen@usdoj.gov

                           Counsel for Defendant




                              2
         Case 1:20-cv-01088-JEB Document 17 Filed 03/17/21 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I certify that on March 17, 2021, a copy of the foregoing was served by electronic means on

all counsel of record by the Court’s CM/ECF system.

                                                       /s/ Joshua Smith
                                                      Joshua Smith




                                                3
